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                                UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW JERSEY

     EDWIN H. STIER, ESQ., AS WIND
     DOWN TRUSTEE FOR MLS
     BERKOWITZ INVESTMENTS, LLC,
                                                         Case No. 3:24-cv-04647-GC-RLS
              Plaintiff,

     v.
                                                           STIPULATED
     DIEGO POSSEBON, et al.
                                                           CONFIDENTIALITY ORDER
              Defendants.


            IT IS HEREBY STIPULATED AND AGREED by and between Edwin H. Stier,
     Esq., as Wind Down Trustee for MLS Berkowitz Investments, LLC (the “Trustee”) and
     Coinbase, Inc. (“Coinbase”) (each a “Party” and collectively, the “Parties”), that discovery in
     the above-captioned action is likely to involve the disclosure of confidential information, it is
     ORDERED as follows:

             1. Coinbase shall have the right to designate as “Confidential” and subject to this
      Order any information, document, or thing, or portion of any document or thing: (a) that
      contains trade secrets, competitively sensitive technical, marketing, financial, sales or other
      confidential business information, or (b) that contains private or confidential personal
      information, or (c) that contains information received in confidence from third parties, or
      (d) which the producing party otherwise believes in good faith to be entitled to protection
      under Rule 26(c)(1)(G) of the Federal Rules of Civil Procedure and Local Civil Rule 5.3.
      Coinbase shall mark the same with the foregoing or similar legend: “CONFIDENTIAL” or
      “CONFIDENTIAL – SUBJECT TO CONFIDENTIALITY ORDER” (hereinafter
      “Confidential”).

              2. All Confidential material shall be used by the Trustee, as the receiving party,
      solely for purposes of the prosecution or defense of this action, shall not be used by the
      Trustee for any business, commercial, competitive, personal or other purpose, and shall not
      be disclosed by the Trustee to anyone other than those set forth in Paragraph 3 with respect
      to Confidential material unless and until the restrictions herein are removed either by written
      agreement of counsel for the Parties, or by Order of the Court. It is, however, understood
      that counsel for a Party may give advice and opinions to his or her client solely relating to
      the above-captioned action based on his or her evaluation of Confidential material, provided
      that such advice and opinions shall not reveal the content of such Confidential material
      except by prior written agreement of counsel for the parties, or by Order of the Court.

              3. Confidential material and the contents of Confidential material may be disclosed
      only to the following individuals under the following conditions:

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                       (a)      Outside counsel (herein defined as any attorney at the parties’ outside
               law firms, which firms have appeared in the action) and relevant in-house counsel
               for the parties;

                      (b)     Outside experts or consultants retained by outside counsel for
               purposes of this action, provided they have signed a non-disclosure agreement in the
               form attached hereto as Exhibit A or such other form as may be agreed by the parties;

                      (c)     Secretarial, paralegal, clerical, duplicating and data processing
               personnel of the foregoing;

                          (d)   The Court and court personnel;

                      (e)    Any deponent may be shown or examined on any information,
               document or thing designated Confidential if it appears that the witness authored or
               received a copy of it, was involved in the subject matter described therein or is
               employed by the Party who produced the information, document or thing, or if the
               producing party consents to such disclosure;

                      (f)      Vendors retained by or for the parties to assist in preparing for pretrial
               discovery, trial and/or hearings including, but not limited to, court reporters, litigation
               support personnel, jury consultants, individuals to prepare demonstrative and
               audiovisual aids for use in the courtroom or in depositions or mock jury sessions, as
               well as their staff, stenographic, and clerical employees whose duties and
               responsibilities require access to such materials; and

                       (g)    The Parties to this Stipulated Confidentiality Order. In the case of
               Parties that are corporations or other entities, “Party” shall mean executives, or
               employees who are required to participate in decisions with reference to this lawsuit
               or are persons necessary for the prosecution or defense of this lawsuit.

              4. Confidential material shall be used only by individuals permitted access to it
      under Paragraph 3. Confidential material, copies thereof, and the information contained
      therein, shall not be disclosed in any manner to any other individual, until and unless (a)
      outside counsel for the Party asserting confidentiality waives the claim of confidentiality, or
      (b) the Court orders such disclosure.

               5. With respect to any depositions that involve a disclosure of Confidential material
      of a Party or Non-Party, such Party or Non-Party shall designate the transcript as containing
      Confidential material during the deposition, or within 5 days thereafter, and may have until
      thirty (30) days after receipt of the deposition transcript within which specifically to inform
      all other Parties or non-parties of which portions of the transcript are to be designated
      Confidential, which period may be extended by agreement of the parties. No such deposition
      transcript shall be disclosed to any individual other than the individuals described in
      Paragraph 3 for Confidential material, and the deponent during these thirty (30) days, and
      no individual attending such a deposition shall disclose the contents of the deposition to any
      individual other than those described in Paragraph 3, during said thirty (30) days. Upon


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      being informed that certain portions of a deposition are to be designated as Confidential, all
      parties shall immediately cause each copy of the transcript in its custody or control to be
      appropriately marked and limit disclosure of that transcript in accordance with this Order.

             6. If counsel for a Party receiving documents or information designated as
      Confidential hereunder objects to such designation of any or all of such items, the following
      procedure shall apply:

                       (a)    Counsel for the objecting Party shall serve on the designating Party a
               written objection to such designation, which shall describe with particularity the
               documents or information in question and shall state the grounds for objection.
               Counsel for the designating Party shall respond in writing to such objection within 14
               days, and shall state with particularity the grounds for asserting that the document or
               information is Confidential. If no timely written response is made to the objection,
               the challenged designation will be deemed to be void. If the designating Party makes
               a timely response to such objection asserting the propriety of the designation, counsel
               shall then confer in good faith in an effort to resolve the dispute.

                       (b)     If a dispute as to a Confidential designation of a document or item of
               information cannot be resolved by agreement, the proponent of the designation being
               challenged shall present the dispute to the Court initially by telephone or letter, in
               accordance with Local Civil Rule 37.1(a)(1), before filing a formal motion for an
               order regarding the challenged designation. The document or information that is the
               subject of the filing shall be treated as originally designated pending resolution of the
               dispute.

              7. Any document designated “Confidential” which is to be filed with the Court shall
      be filed under seal, in accordance with Local Civil Rule 5.3.

             8. If the need arises during trial or at any hearing before the Court for any Party to
      disclose Confidential material, it may do so only after giving notice to the producing Party
      and as directed by the Court.

               9. The production of any information, document, or thing in this litigation shall not
      constitute a waiver of any attorney-client privilege or work-product protection that may be
      asserted by the producing party either in this case or in any other federal or state proceeding.
      This Order shall be interpreted to provide the maximum protection allowed by Federal
      Rule of Evidence 502(d). When the production or disclosure of any information, document,
      or thing protected by attorney-client privilege or work-product protection is discovered by
      or brought to the attention of the producing party, the treatment of such material shall be in
      accordance with Federal Rule of Civil Procedure 26(b)(5)(B). That treatment shall be
      deemed to comply with any obligations the producing party would otherwise have had
      pursuant to Fed. R. Evid. 502(b) or under the common law. However, nothing herein
      restricts the right of the receiving party to challenge the producing party’s claim of attorney-
      client privilege or work-product protection after receiving notice of the production or
      disclosure of any information, document, or thing that is subject to a claim of attorney-client
      privilege or work-product protection.

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             10. This Confidentiality Order shall not deprive any Party of its right to object to
      discovery by any other Party or on any otherwise permitted ground. This Confidentiality
      Order is being entered without prejudice to the right of any party to move the Court for
      modification or for relief from any of its terms.

              11. This Confidentiality Order shall survive the termination of this action and shall
      remain in full force and effect unless modified by an Order of this Court or by the written
      stipulation of the parties filed with the Court.

     12. Upon final conclusion of this litigation, each Party or other individual subject to the terms
     hereof shall be under an obligation to assemble and to return to the originating source all
     originals and unmarked copies of documents and things containing Confidential material or
     to destroy all copies of such material that contain and/or constitute attorney work product as
     well as excerpts, summaries and digests revealing Confidential material; provided, however,
     that counsel may retain complete copies of all transcripts and court filings, including any
     exhibits attached thereto, for archival purposes, subject to the provisions of this
     Confidentiality Order.

     STIPULATED BY:

     For Edwin H. Stier, Esq., as Wind Down Trustee for MLS Berkowitz Investments, LLC:

     /s/ Eric T. Kanefsky
     Calcagni & Kanefsky, LLP
     One Newark Center
     1085 Raymond Blvd., 14th Floor
     Newark, New Jersey 07102


     For Coinbase, Inc.:

     /s/ Amanda L. Cottrell
     Sheppard, Mullin, Richter & Hampton LLP
     2200 Ross Avenue, 20th Floor
     Dallas, Texas 75201




     IT IS SO ORDERED.


     Dated:
                                                                              , U.S.M.J.




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                                                EXHIBIT A

                                  UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF NEW JERSEY

     EDWIN H. STIER, ESQ., AS WIND
     DOWN TRUSTEE FOR MLS
     BERKOWITZ INVESTMENTS, LLC,
                                                           Case No. 3:24-cv-04647-GC-RLS
              Plaintiff,

     v.                                                    AGREEMENT TO BE BOUND
                                                           BY CONFIDENTIALITY
     DIEGO POSSEBON, et al.                                ORDER

              Defendants.



  IT IS HEREBY STIPULATED AND AGREED by and between the atto
   I,                          , being duly sworn, state that:

             1.      My address is                                                    .

          2.     My present employer is                                                       and    the
   address of my present employment is                                                         .

             3.      My        present        occupation         or       job        description        is

                     .

           4.      I have carefully read and understood the provisions of the Confidentiality Order
   in this case signed by the Court, and I will comply with all provisions of the Confidentiality
   Order.

          5.      I will hold in confidence and not disclose to anyone not qualified under the
   Confidentiality Order any Confidential material or any words, summaries, abstracts, or indices
   of Confidential material disclosed to me.

             6.      I will limit use of Confidential material disclosed to me solely for purpose of this
   action.

          7.     No later than the final conclusion of the case, I will return all Confidential material
   and summaries, abstracts, and indices thereof which come into my possession, and documents
   or things which I have prepared relating thereto, to counsel for the party for whom I was
   employed or retained.

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   I declare under penalty of perjury that the foregoing is true and correct.



   Dated:                                                                                [Name]




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